      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 1 of 21




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                        UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,                     Case No. 1:22-cv-00329-BLW

      Plaintiff,                              MEMORANDUM IN SUPPORT OF
                                              IDAHO LEGISLATURE’S MOTION
v.                                            TO INTERVENE

THE STATE OF IDAHO,

      Defendant.


I Factual Background: The Idaho Legislature and Its Abortion Laws.

A. Legislative Action

      In enacting the 622 Statute and Idaho’s other abortion laws, the Legislature acted

on its now-vindicated expectation that the day would soon come when the regulation of


MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 1
       Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 2 of 21




abortion, with all its great moral and political questions, would be returned to the people

and their elected legislators for resolution.

       In its 2020 session, the Legislature enacted the 622 Statute. When it becomes

effective, it will constitute Idaho’s comprehensive regulation of abortion. That Statute

allows for certain abortions that meet guidelines governing cases of medical emergency,

rape, or incest and prohibits all other abortions. Enforcement is by executive-branch action

through the criminal justice system and through the licensing system governing health care

providers in this State. Although expressing the strongly held values and traditions of Idaho

and its people relative to abortion, the 622 Statute was not to become effective until the

United States Supreme Court returned regulation of abortion to the respective States’

legislatures and their people, this delay being in deference to the federal constitution’s

Supremacy Clause and related principles of our federalism. Dobbs v. Jackson Women's

Health Org., ––– U.S. ––––, 142 S. Ct. 2228 (June 24, 2022), “triggered” the Statute’s

effective date, August 25, 2022.

       In its 2021 session, the Legislature enacted Idaho’s Fetal Heartbeat Preborn Child

Protection Act, now codified at Idaho Code Title 18, Chapter 88 (“Heartbeat Act”). The

Heartbeat Act allows more and prohibits fewer abortions than does the 622 Statute. For

one thing, it does not subject to any enforcement mechanism abortions performed before

detection of a fetal heartbeat. For another thing, the Heartbeat Act has a broader definition

of “medical emergency” than does the 622 Statute. The Legislature made that definition

broader by adding language reflecting language in the federal Emergency Medical

Treatment and Labor Act, 42 U.S.C. § 1395dd (“EMTALA”). Compare Idaho Code 18-

MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 2
        Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 3 of 21




8801(5) (defining “medical emergency” in part to mean a “condition … for which a delay

will create serious risk of substantial and irreversible impairment of a major bodily

function”) with EMTALA, § 1395dd § (1)(A) (defining “emergency medical condition” to

mean in part a condition that “could reasonably be expected to result in-- . . . “(i) placing

the health of the individual (or, with respect to a pregnant woman, the health of the woman

or her unborn child) in serious jeopardy, (ii) serious impairment to bodily functions, or (iii)

serious dysfunction of any bodily organ or part”).

        In that 2021 session, the Legislature provided for enforcement of the Heartbeat Act

by executive-branch action through the criminal justice system and through the licensing

system governing health care providers in this State. The Heartbeat Act was not to become

effective until a federal appellate court upheld against federal constitutional challenge

another State’s fetal heartbeat act similar to Idaho’s, with this delay again being in

deference to the federal constitution’s Supremacy Clause and related principles of our

federalism. By upholding on July 20, 2022, Georgia’s fetal heartbeat act, the Eleventh

Circuit with SisterSong Women of Color Reprod. Just. Collective v. Governor of Georgia,

40 F.4th 1320 (11th Cir. 2022), “triggered” the Heartbeat Act’s effective date, August 19,

2022.

        In its 2022 session, the Legislature amended the Heartbeat Act by adding to it,

through Senate Bills 1309 and 1358, provisions for additional enforcement by a private

cause-of-action, that is, by private attorneys’ general (“2022 Amendments”; now codified

in material part at Idaho Code § 18-8807). The effective date for these private enforcement

provisions was April 22, 2022, meaning that, from that date until the “triggering” of the

MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 3
        Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 4 of 21




Heartbeat Act’s other enforcement provisions, the private cause of action would be the

Act’s exclusive enforcement mechanism. 1

B. Planned Parenthood Litigation

       (All dates hereafter are in 2022.) With enforcement of the Heartbeat Act set to begin

on April 22, by way of the private cause-of-action, Planned Parenthood and one of its

doctors filed on March 30, a petition with the Idaho Supreme Court (“Court”), invoking its

original jurisdiction, seeking a declaration that the 2022 Amendments were unconstitutional

in their entirety under (and only under) the Idaho constitution, and asking for a stay of

implementation of those Amendments. The only Respondent at that time was the State of

Idaho, represented by the Idaho Attorney General’s Office. In that early going, specifically,

on April 8, the Court, as part of a broader order, stayed implementation of the 2022

       1
           The 2022 Amendments prohibited anyone acting under color of state law from
participating in any way in such a private civil action, this with the purpose of precluding any state
or federal constitutional challenge to the Heartbeat Act in federal court, while preserving judicial
review of the Act’s state and federal constitutionality in state court. In this way, the 2022
Amendments well (indeed, in the only way possible) advance Idaho’s important and legitimate
interest in having the Idaho Supreme Court, either initially (through original jurisdiction) or
ultimately (through appellate jurisdiction), rather than the court of a different sovereign, interpret
the Heartbeat Act and determine its validity under the Idaho constitution.
        Idaho indeed has a legitimate and powerful interest in seeing its laws interpreted by its own
courts, especially its Supreme Court, in important part because of the unparalleled expertise of its
Supreme Court in the interpretation and application of state law and in equally important part
because the Idaho Supreme Court’s interpretation becomes not just advisory but binding on all
federal courts dealing with the law thereafter. The Legislature has sensibly determined that the
Idaho Supreme Court, which is deeply embedded in and perceptive of not just the laws of this State
but its society, culture, and people, is a superior forum for understanding, appreciating, and
adjudicating Idaho’s constitution and statutes. In so advancing those important and legitimate state
interests, the Legislature did not do so out of enmity towards or a disparaging view of the federal
judiciary; indeed, it has expressly acknowledged that under our federalism, federal judges perform
vital and noble work. But as many of those judges themselves would readily acknowledge, when
it comes to understanding and interpreting Idaho’s constitution and statutes, the Idaho Supreme
Court is the superior forum.


MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 4
        Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 5 of 21




Amendments. 2 (Because Planned Parenthood has now filed three petitions with the Court,

we hereafter refer to the proceeding initiated by the first petition as the “First Case.”)

        On April 14, the Legislature petitioned the Court for leave to intervene, this at a

time before the Intervention Statute was effective. 3 The Court granted that leave, and the

Legislature timely filed its brief on the merits and its subsequent brief on certain procedural

issues. On August 3, the Court held a hearing on the procedural issues, and counsel for the

Legislature and the Attorney General’s Office divided equally the Respondents’ allotted

time.

        The First Case is fully briefed on the merits, and the parties are waiting to see

whether the Court will require oral argument before ruling.

        With Dobbs being decided on June 24, Planned Parenthood filed its second petition

on June 27, again invoking the Court’s original jurisdiction, seeking a declaration that the

entirety of the 622 Statute violates the Idaho constitution, and asking for an immediate stay

of its implementation (“Second Case”). The original Respondents were various executive-

branch officers, county prosecutors, and licensing boards, all represented by the Idaho

Attorney General’s Office. Citing the Intervention Statute, the Legislature moved to

intervene on July 28, and on August 2, the Court granted that motion. Thus, the next day,

the Legislature’s counsel also argued important aspects of the 622 Statute before the Court.




2
   In relevant part, the order read: “The parties having both requested action by this Court to
preserve the status quo to give the parties the ability to adequately brief this case, pursuant to l.A.R.
13(g) the implementation of Senate Bill 1309 is STAYED, pending further action by this Court.”
3
  Its effective date was July 1.
MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 5
       Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 6 of 21




       With SisterSong being decided on July 20, Planned Parenthood filed its third

petition on July 25, again invoking the Court’s original jurisdiction, seeking a declaration

that the rest of the Heartbeat Act, that is, the criminal and licensing enforcement provisions,

violate the Idaho constitution, and asking for an immediate stay of their implementation

(“Third Case”). The original Respondents were the same as in the Second Case, and again

all are represented by the Idaho Attorney General’s Office. Citing the Intervention Statute,

the Legislature moved to intervene on July 28, and on August 2, the Court granted that

motion.

       The Clerk of the Idaho Supreme Court has provided online at https://coi.isc.idaho.gov/

all filings in the First Case (# 49615-2022), the Second Case ( # 49817-2022), and the Third

Case (# 49899-2022).

                                      **********

       We recite these facts about legislative activity and the Planned Parenthood litigation

in important part to demonstrate that the Legislature is well suited, and in some respects

uniquely well suited, to illuminate the entire legal and factual setting of the United States’

challenge to the 622 Statute and thereby to aid this Court in its resolution of that challenge.

It is fair to say that no other entity or individual has been as immersed in and centrally

involved with that legal and factual setting as the Legislature. It is thus likewise fair to say

that the Legislature both has important interests at stake in this civil action and the




MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 6
          Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 7 of 21




motivation and resources to best defend those interests—all in a way making for the just

and speedy resolution of this civil action. 4

                                        **********

         The following section, Section II, explains how Federal Rule of Civil Procedure

24(a)(2), as interpreted and applied by Berger v. N.C. State Conf. of the NAACP, --U.S.--,

142 S. Ct. 2191 (2022), requires a holding that the Legislature may intervene in this civil

action as a matter of right.

         Section III demonstrates that the Legislature satisfies all guidelines under Federal

Rule 24(b) for permissive intervention.

         Section IV shows that, at the very least, this Court should allow the Legislature to

brief the United States’ preliminary injunction motion and participate in the August 22

hearing on it.

II Federal Rule of Civil Procedure 24(a)(2), as interpreted and applied by Berger,
requires a holding that the Legislature may intervene in this civil action as a matter
of right.

         In relevant part, Federal Rule of Civil Procedure 24(a)(2) provides:

         (a) Intervention of Right. On timely motion, the court must permit anyone to
         intervene who:
         ….
         (2) claims an interest relating to the property or transaction that is the subject of the
         action, and is so situated that disposing of the action may as a practical matter impair
         or impede the movant's ability to protect its interest, unless existing parties
         adequately represent that interest.




4
    See Federal Rule of Civil Procedure 1.
MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 7
          Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 8 of 21




         In a case with procedural facts and circumstances the same as this case, the United

States Supreme Court recently held that under Federal Rule of Civil Procedure 24(a)(2), a

state legislature could intervene as a matter of right. Berger v. N.C. State Conf. of the

NAACP, --U.S.--, 142 S. Ct. 2191 (2022) (8-1 decision).

         In Berger, a civil rights organization filed suit in federal district court, challenging

the constitutionality of North Carolina’s recently enacted “voter ID” law and naming as the

defendants the Governor and the North Carolina Elections Board, both represented by the

State’s Attorney General.

         A North Carolina statute similar to the Intervention Statute gives that State’s

legislature a right to intervene when any statute is challenged in federal or state court. 5 This

statute specifies that the Speaker of the House of Representatives and the President Pro

Tempore of the Senate, “as agents of the State, by and through counsel of their choice,

including private counsel,” are the ones “to intervene on behalf of the General Assembly

as a party in any judicial proceeding challenging a North Carolina statute or provision of

the North Carolina Constitution.” 6 Invoking that statute and F.R.C.P. 24, the North

Carolina legislature sought to intervene by right and, in the alternative, by permission.

         The federal district court denied intervention, and the Fourth Circuit affirmed.

Berger, supra, at 2199-2200. Both courts applied a presumption that the Legislature’s

interests were adequately represented by the Attorney General. Id.




5
    North Carolina Gen. Stat. § 1-72.2.
6
    Id.
MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 8
       Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 9 of 21




       The United States Supreme Court reversed, holding that the North Carolina

legislative leaders could intervene as a matter of right because they met all three of the

factors listed in F.R.C.P. 24(a)(2)—that the court must “permit anyone to intervene who,

(1) on timely motion, (2) claims an interest relating to the property or transaction that is

the subject of the action, and is so situated that disposing of the action may as a practical

matter impair or impede the movant’s ability to protect its interest, (3) unless existing

parties adequately represent that interest.” Id. at 2200-01.

       Timeliness was not an issue; the Supreme Court addressed the second and third

factors. It focused “first on the question whether the legislative leaders have claimed an

interest in the resolution of this lawsuit that may be practically impaired or impeded

without their participation.” Id. at 2201. The Supreme Court then set forth three

indisputable realities: (1) The “States possess ‘a legitimate interest in the continued

enforce[ment] of [their] own statutes.’” (2) “States may organize themselves in a variety

of ways.” (3) “[W]hen a State chooses to allocate authority among different officials who

do not answer to one another, different interests and perspectives, all important to the

administration of state government, may emerge.” Id. It then went on to hold that

       Appropriate respect for these realities suggests that federal courts should
       rarely question that a State's interests will be practically impaired or impeded
       if its duly authorized representatives are excluded from participating in
       federal litigation challenging state law. To hold otherwise would not only
       evince disrespect for a State's chosen means of diffusing its sovereign powers
       among various branches and officials. It would not only risk turning a deaf
       federal ear to voices the State has deemed crucial to understanding the full
       range of its interests. It would encourage plaintiffs to make strategic choices
       to control which state agents they will face across the aisle in federal court.
       It would tempt litigants to select as their defendants those individual officials
       they consider most sympathetic to their cause or most inclined to settle

MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 9
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 10 of 21




       favorably and quickly. All of which would risk a hobbled litigation rather
       than a full and fair adversarial testing of the State's interests and arguments.

Id.

       This holding was reinforced by “important national interests” and “many, clear, and

recent” Supreme Court precedents. Id. at 2201–2202.

       The Supreme Court then concluded that “[t]hese principles and precedents are

dispositive here,” rejected contrary arguments from the plaintiff and the Attorney General,

and ruled in favor of the Legislature on Rule 24(a)(2)’s second factor. Id. at 2202–2203.

       The Supreme Court then turned to the last issue, adequacy of representation. It noted

that the lower federal courts had applied a variety of tests on this issue, generally, ones

making it difficult for intervenors to meet the adequacy-of-representation requirement,

such as the presumption relied on by the district and circuit courts in Berger. The Supreme

Court disagreed with these tests, noting that “Rule 24(a)(2) promises intervention to those

who bear an interest that may be practically impaired or impeded ‘unless existing parties

adequately represent that interest’ … that “this Court has described the Rule's test as

presenting proposed intervenors with only a minimal challenge.” (Id. at 2203 (emphasis

added). Accordingly, the Supreme Court ruled that “a presumption of adequate representation

is inappropriate when a duly authorized state agent seeks to intervene to defend a state

law.” Id. at 2204. After all, “[f]or a federal court to presume a full overlap of interests when

state law more nearly presumes the opposite would make little sense and do much violence

to our system of cooperative federalism.” Id.




MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 10
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 11 of 21




       After reviewing the particular facts in Berger, the Supreme Court concluded that the

requisite minimal difference among the state actors in perspectives and therefore interests

was present and, on that basis, ruled in favor by the Legislature. Id. at 2204–2206. In doing

so, it rejected suggestions of possible problems with case management, finding them

untenable. Id. at 2205–2206.

       The Supreme Court’s conclusion merits attention:

               Through the General Assembly, the people of North Carolina have
       authorized the leaders of their legislature to defend duly enacted state statutes
       against constitutional challenge. Ordinarily, a federal court must respect that
       kind of sovereign choice, not assemble presumptions against it. Having
       satisfied the terms of Federal Rule of Civil Procedure 24(a)(2), North
       Carolina's legislative leaders are entitled to intervene in this litigation.

Id. at 2206. And because it underscores the minimal nature of Berger’s adequacy-of-

representation standard, this language of Justice Sotomayor’s sole dissent also merits

attention:

       [T]he Court holds that two leaders of the North Carolina General Assembly
       are entitled to intervene as a matter of right to represent the State's interest in
       defending the constitutionality of North Carolina law, even though that
       interest is already being ably pursued on the State's behalf by an existing state
       party to the litigation.

Id.

       With respect to defense of Idaho’s abortion laws, the adequacy-of-representation

issue must likewise be resolved in favor of intervention. The perspectives of Idaho’s

executive branch, represented by the Idaho Attorney General’s Office, diverge from those

of the Legislature and its legal team enough to satisfy Berger’s minimal standard. That




MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 11
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 12 of 21




divergence is unavoidable given the many strategic decisions and judgment calls that

complex litigation like this calls for.

       In the Planned Parenthood litigation, for example, the Legislature refused to endorse

the Attorney General’s Office’s decision to argue against the Idaho Supreme Court’s

original jurisdiction and make that argument paramount. Indeed, the Legislature told the

Court that, “[b]ecause we believe that the Court will be the court providing the final word

on the issues presented here, and because we desire an expeditious final resolution of those

issues, we will not be displeased if this Court holds that it does have jurisdiction.” 7 (That

“not displeased” term illuminates the tight-rope that the Legislature as a practical and

political matter must walk without, on one side, unduly underscoring its interests and

perspectives differing from those of its titular ally, the Attorney General’s Office, and, on

the other side, inadequately advocating for those interests and perspectives. The Legislature

has and will continue to walk that walk, always adequately advocating for its own differing

interests and perspectives.)

       Then, at the August 3rd hearing before the Court, the Attorney General’s Office

focused on both its objection to original jurisdiction and some particular defenses of the

622 Statue, while the Legislature’s counsel twice told the Court: “The Legislature’s




7
  Brief of the Idaho Legislature at 5–6 n.6 filed April 28, 2022 in the First Case; available at
https://coi.isc.idaho.gov/.


MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 12
        Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 13 of 21




paramount interest is in the termination now of the stay of implementation of the Heartbeat

Act.” 8 One justice of the Court expressly questioned that divergence. 9

         In this case, the Legislature has a unique interest in an important issue of fact—the

extent to which, if at all, Idaho emergency-room abortions occurred in this State under the

now de-legitimized Roe/Casey abortion regime. In the Legislature’s unique judgment, that

issue of fact has a material role relative to the question of injunctive relief.

         Further, based on past experience, it seems highly likely that the Legislature will

have unique perspectives and interests relative to negotiation of stipulated injunctive

language. That matters exactly because most cases of this type in the end are resolved in

that fashion. That fact still obtains here even though the Legislature presently believes that

the United States has no adequate grounds for injunctive relief, either preliminarily or

permanently.

         Finally, the Legislature’s unique experience with Idaho’s abortion laws, set forth in

Section I above, assures that it will have unique interests and perspectives on key

procedural and substantive issues bound to arise in a case of this type. (This case is still in

its earliest, albeit crucial, phase.) It could not be otherwise. The Planned Parenthood

litigation has demonstrated that pattern of difference and divergence on the Respondents’

side again and again and will undoubtedly continue to do so.

         To hold that the Legislature has not met here the minimal Berger standard is to

ignore and rule contrary to that decision. To paraphrase only slightly, through their


8
    Notes and recollection of the Legislature’s counsel.
9
    Id.
MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 13
       Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 14 of 21




Legislature, the people of Idaho have authorized the leaders of their Legislature and their

Legislature itself to defend duly enacted state statutes against constitutional challenge. A

federal court must respect that kind of sovereign choice, not assemble arguments or reasons

against it. Having satisfied the terms of Federal Rule of Civil Procedure 24(a)(2), the Idaho

Legislature and its leaders are entitled to intervene in this litigation.

III The Legislature has satisfied F.R.C.P. 24(b)’s provisions and standards for
permissive intervention.

       F.R.C.P. Rule 24(b) provides:

       (b) Permissive Intervention.
       (1) In General. On timely motion, the court may permit anyone to intervene
       who:
       (A) is given a conditional right to intervene by a federal statute; or
       (B) has a claim or defense that shares with the main action a common
       question of law or fact.
       (2) By a Government Officer or Agency. On timely motion, the court may
       permit a federal or state governmental officer or agency to intervene if a
       party's claim or defense is based on:
       (A) a statute or executive order administered by the officer or agency; or
       (B) any regulation, order, requirement, or agreement issued or made under
       the statute or executive order.
       (3) Delay or Prejudice. In exercising its discretion, the court must consider
       whether the intervention will unduly delay or prejudice the adjudication of
       the original parties' rights.

       As to the first requirement, a timely motion, “[t]imeliness is determined

with reference to three factors: (1) the stage of the proceeding at which an applicant

seeks to intervene; (2) the prejudice to other parties; and (3) the reason for and length of the

delay. . . . Under our longstanding precedent, [a] party seeking to intervene must act as




MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 14
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 15 of 21




soon as he knows or has reason to know that his interests might be adversely affected by

the outcome of the litigation.” 10

       The Legislature has satisfied the timeliness requirement here. The United States

filed its Complaint on Tuesday, August 2. On Friday, August 5, the Attorney General

advised the Legislature of the status conference held that same day in this case and of the

filing deadlines coming out of that conference, with the first being Monday, August 8, for

the filing of the United States’ motion for a preliminary injunction. The next business day,

Monday, August 8, the Legislature filed this Motion to Intervene. Consequently, timeliness

is not an issue under any approach or standard.

       The ”common question of law or fact” requirement is likewise not an issue here.

As shown by the Legislature’s proposed Answer attached as Exhibit A, the Legislature will

be engaging the entirety of the United States’ Complaint with a number of defenses, some

of which will undoubtedly be in common with the Attorney General’s Office’s Answer

once filed.

       That leaves the question “whether the intervention will unduly delay or prejudice

the adjudication of the original parties' rights.” F.R.C.P. 24(b)(3). Delay is not an issue

here; the Legislature is willing and able to, and will, meet all deadlines set by this Court

and/or by the parties by stipulation. As shown in the Planned Parenthood litigation, a

preeminent interest of the Legislature is in the quick, even expedited, resolution of the




10
  Peruta v. Cty. of San Diego, 771 F.3d 570, 572 (9th Cir. 2014) (citations and internal quote
marks omitted).
MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 15
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 16 of 21




various challenges to its abortion laws. And the Legislature’s legal team has the resources

needed to avoid causing any delays.

       As to prejudice, we can think of nothing that the Legislature’s party status may do

to prejudice either the United States or Idaho’s executive branch. The fact that an

intervening party may bring skilled, zealous advocacy and deep expertise in the subject

matter to a case cannot qualify as prejudice, especially where all the original parties are

public entities whose preeminent interest must be justice, not mere winning.

       It is considerations such as these that recently led a federal district court in Priorities

USA v. Benson, 448 F. Supp. 3d 755 (E.D. Mich. 2020), to grant permissive intervention

to Michigan’s legislature to defend its statute. In Priorities USA, the Legislature sought to

intervene in a lawsuit challenging its absentee-ballot voting laws. Id. at 758. The

Legislature moved to intervene in a timely manner—before the original defendant

(Michigan’s secretary of state) even responded and thus before the litigation could get into

full swing. Id. at 763. The court noted that the Plaintiff “filed this lawsuit on October 30,

2019 and the Legislature moved to intervene on November 27, 2019, a mere twenty

business days later (nineteen, accounting for the effect of Veterans' Day). It is difficult to

imagine a more timely intervention.” Id.

       The court found that there was a common question of law or fact in the Legislature’s

interest in protecting its laws. Id. Importantly, the Court pointed out that as a “separate and

coequal branch of government” to the executive, the Legislature also had an interest in

defending the state’s statutes, stating that “[a]lthough the Executive Branch, represented

by Defendant, is tasked with enforcing the law and providing the primary defense against

MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 16
         Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 17 of 21




lawsuits directed at the State, the Legislature has an interest in the preservation and

constitutionality of the laws governing the State.” Id. at 764. Furthermore, the outcome of

the lawsuit could affect the Legislature and its makeup—a matter of interest to the

Legislature. Id. The court found that these considerations constituted a common question

of law or fact. Id. at 765.

          Finally, because the Legislature was “not attempting to inject wholly unseen,

unnecessary, or irrelevant issues” into the litigation, and it moved to intervene early in the

litigation, the court found that the Legislature’s intervention would not cause undue delay

or prejudice to the original parties. Id. 11 “The court finds that Plaintiffs will not be unfairly

prejudiced in having a motivated opponent that is willing to contest this case's important

legal questions. Defendant, again, offers no dispute about the Legislature's entry into the

case.” Id. Based on these considerations, the court granted permissive intervention to the

Legislature.




11
     The court expressed this helpful insight:

          [T]he Legislature attempts no more than to become a defendant and litigate the
          claims Plaintiffs have currently presented. It may be true that adding another party
          would add time and energy, for example requiring additional deposition questions
          or additional briefing on some motions. It may also be true that the Legislature
          could add different, and potentially successful, defenses to the signature matching
          laws during the course of litigation. However, expending such additional energy is
          not a waste, and appears to the court's satisfaction as important to effectuate the
          Legislature's purpose, providing a vigorous defense to Michigan's election laws. If
          there are costs or inefficiencies in the process, the court finds them worthwhile.

Id. at 765.
MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 17
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 18 of 21




       Again, a close paraphrase is appropriate: This Court should find that neither the

United States nor the original defendants will be unfairly prejudiced in having a motivated

opponent that is willing to contest this case's important legal questions.

       In light of the foregoing, the Legislature respectfully urges this Court to grant it Rule

24(b) leave to intervene.

IV At the very least, this Court should allow the Legislature to file an amicus curiae
brief regarding, and participate in the hearing on, the United States’ motion for
preliminary injunction.

       Kollaritsch v. Michigan State Univ. Bd. of Trustees, No. 1:15-CV-1191, 2017 WL

11454764, at *1 (W.D. Mich. Oct. 30, 2017), sets for well the governing standard:

               A federal district court has broad discretion to allow the participation
       of amici curiae in a case. . . . The Federal Rules of Civil Procedure do not
       address motions for leave to appear as amicus curiae in a federal district
       court, . . . and the decision to allow an appearance as amicus curiae falls
       under the district court's inherent authority . . . . When making such a
       decision to permit or deny amicus status, courts have considered a variety of
       factors, including the opposition of the parties, interest of the movants,
       partisanship, and adequacy of representation. . . . District courts focus on
       both the usefulness of the brief and the timeliness of the brief. (Citations
       omitted.)

       The facts set forth in the prior Sections of this Memorandum satisfy these

guidelines. The Legislature will meet the same filing deadline of August 19, facing the

Attorney General’s Office. There is no need to belabor these points.

V Conclusion.

       In light of all the foregoing, the Legislature respectfully urges that this Court grant

its Rule 24(a)(2) motion to intervene as of right, with the Legislature then becoming subject

to all scheduling and deadlines already set in this case.


MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 18
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 19 of 21




       In the event this Court denies that motion, it should grant the Legislature’s Rule

24(b) motion to intervene by permission, with the same proviso regarding deadlines.

       In the event this Court refuses intervention, it should allow the Legislature to file an

amicus curiae brief by August 19 and participate in the August 22 hearing. The Legislature

says this, however, viewing such allowance as wholly inadequate to bring about the just

resolution of this civil action. Intervention is the right and only adequate ruling.

Dated this 8th day of August, 2022.

                                           MORRIS BOWER & HAWS PLLC


                                           By:    /s/ Daniel W. Bower
                                                   Daniel W. Bower


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MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 19
       Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 20 of 21




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of August, 2022, I electronically filed the foregoing
with the Clerk of the Court via the CM/ECF system, which caused the following parties or counsel
to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 20
      Case 1:22-cv-00329-BLW Document 15-1 Filed 08/08/22 Page 21 of 21




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MEMORANDUM IN SUPPORT OF IDAHO LEGISLATURE’S MOTION TO INTERVENE - 21
